 Case 3:17-cv-02467-MMA-KSC Document 23 Filed 04/02/19 PageID.239 Page 1 of 2

                            UNITED STATES COURT OF APPEALS
                                                                             FILED
Apr 02 2019                        FOR THE NINTH CIRCUIT
                                                                             APR 01 2019
                                                                            MOLLY C. DWYER, CLERK
  s/ AKR                                                                     U.S. COURT OF APPEALS




    JOE EDWARD COLLINS III,                           No. 18-55444

                       Plaintiff - Appellant,
                                                      D.C. No. 3:17-cv-02467-MMA-KSC
           v.                                         U.S. District Court for Southern
                                                      California, San Diego
    COUNTY OF SAN DIEGO,
    Department of Child Support                       MANDATE
    Services,

                       Defendant - Appellee.


                The judgment of this Court, entered October 26, 2018, takes effect this date.

                This constitutes the formal mandate of this Court issued pursuant to Rule

  41(a) of the Federal Rules of Appellate Procedure.

                                                       FOR THE COURT:

                                                       MOLLY C. DWYER
                                                       CLERK OF COURT

                                                       By: Jessica F. Flores Poblano
                                                       Deputy Clerk
                                                       Ninth Circuit Rule 27-7
Case 3:17-cv-02467-MMA-KSC Document 23 Filed 04/02/19 PageID.240 Page 2 of 2



                     UNITED STATES COURT OF APPEALS                         FILED
                            FOR THE NINTH CIRCUIT                           OCT 26 2018
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                                                                          U.S. COURT OF APPEALS
JOE EDWARD COLLINS III,                           No. 18-55444

                 Plaintiff-Appellant,             D.C. No. 3:17-cv-02467-MMA-
                                                  KSC
  v.                                              Southern District of California,
                                                  San Diego
COUNTY OF SAN DIEGO, Department of
Child Support Services,                           ORDER

                 Defendant-Appellee.

Before:      SILVERMAN, GRABER, and GOULD, Circuit Judges.

       The district court certified that this appeal is not taken in good faith and has

denied appellant leave to proceed on appeal in forma pauperis. See 28 U.S.C.

§ 1915(a). On June 4, 2018 the court ordered appellant to explain in writing why

this appeal should not be dismissed as frivolous. See 28 U.S.C. § 1915(e)(2) (court

shall dismiss case at any time, if court determines it is frivolous or malicious).

       Upon a review of the record and response to the court’s June 4, 2018 order,

we conclude this appeal is frivolous. We therefore deny appellant’s motion to

proceed in forma pauperis (Docket Entry Nos. 2 and 5), see 28 U.S.C. § 1915(a),

and dismiss this appeal as frivolous, pursuant to 28 U.S.C. § 1915(e)(2).

       DISMISSED.
